Gideon B. and Audrey J. Williamson, Petitioners, v. Commissioner of Internal Revenue, RespondentWilliamson v. CommissionerDocket No. 43063United States Tax Court22 T.C. 566; 1954 U.S. Tax Ct. LEXIS 179; June 15, 1954, Filed.  June 15, 1954, Filed *179 Decision will be entered for the respondent.  During the taxable year the petitioner, a minister of the gospel, was employed by a church which did not furnish him a dwelling house in kind but as a part of his compensation paid him a stated sum as a "house allowance." Petitioner continued to reside in a house which he had purchased three years earlier and title to which he had taken in the names of himself and his wife.  Held, that the amount of the "house allowance" was not excluded from the gross income of the petitioner and exempt from tax by section 22 (b) (6) of the Internal Revenue Code.  Martin B. Dickinson, Esq., for the petitioners.Melvin A. Bruck, Esq., for the respondent.  Withey, Judge.  Opper, J., dissenting.  Rice and Baar, JJ., agree with this dissent.  WITHEY*566 *180   The respondent determined a deficiency of $ 166 in the income tax of the petitioners for 1949.  The issue presented is whether a house allowance received by Gideon B. Williamson as a part of his compensation as a minister of the gospel was excluded from gross income and exempt from tax by the provisions of section 22 (b) (6) of the Internal Revenue Code.FINDINGS OF FACT.Some of the facts have been stipulated and are found accordingly.The petitioners, husband and wife, resided in Kansas City, Missouri, during 1949.  They filed their joint individual income tax return for 1949 with the collector of internal revenue for the sixth district of Missouri.Gideon B. Williamson, sometimes hereinafter referred to as the petitioner, is a minister of the gospel, regularly ordained by the Church of the Nazarene.  He was ordained as a minister on August 21, 1927.  In 1946 he was elected to the Board of General Superintendents of the Church of the Nazarene, and was serving on that board during the year 1949.  The Board of General Superintendents is the governing body for the associated Churches of the Nazarene throughout the world.  Members of the board are ordained ministers *567  of the*181  gospel. The general superintendents are elected by ballot of the general assembly from among the elders of the church. In the Church of the Nazarene the name "elder" refers to an ordained minister of the gospel and the office and duties of a general superintendent are equivalent to those of a bishop in certain other communions.At the Twelfth General Assembly of the Church of the Nazarene in 1948, the Report No. 2, Committee on Temporal Economy (secs. 8, 9, 10), provided, in part, as follows:(8) Regarding Memorial No. 110 and R. 13, the Committee recommends (by a vote of 42 for and 4 against) that the following substitute memorial be adopted."We recommend that the salary of each of our General Superintendents be $ 5,200 per year with a traveling expense allowance of $ 2,750 per year and $ 1,000 a year for house allowance, and that the General Board be authorized to make adjustments in the interim of the General Assembly."During 1949 the petitioner received from the Church of the Nazarene a house allowance of $ 999.96 in cash as part of his compensation.The Board of General Superintendents has not attempted to locate or buy a residence for the occupancy of the petitioners.  The*182  Church of the Nazarene has not negotiated for the purchase of residences for the occupancy of the general superintendents of the church.Petitioners purchased their residence in Kansas City, Missouri, in 1946.  Title was taken, and now stands, in the name of "Gideon B. and Audrey J. Williamson, husband and wife." The total consideration for the purchase was $ 15,500.  A mortgage in the amount of $ 9,000 was signed by petitioners when they purchased the house.  This mortgage was payable over a period of 10 years.  The Church of the Nazarene was not a party to either the purchase of petitioners' residence or the execution of the mortgage, and petitioners' continued ownership of the property is in no way contingent upon petitioner's tenure either as a general superintendent or as an ordained minister of the Church of the Nazarene.  Payments on the aforementioned mortgage are made by petitioners by their personal checks.  Payments for all repairs, maintenance, and improvements are likewise made by petitioners from their personal bank account.During 1949 the following amounts were paid by petitioners to City Bond and Mortgage Company, Kansas City, Missouri, with respect to the residence: *183 Interest on mortgage$ 339.26Principal on mortgage740.93City tax64.10State and county taxes88.41Hazard insurance41.40*568  The items of interest on the mortgage, city tax, and State and county taxes were taken as deductions by the petitioners on their 1949 income tax return.The fair rental value of the petitioners' residence for 1949 was in excess of $ 1,000.Petitioners reported the house allowance in their income tax return for 1949 but excluded it in computing their gross income.The respondent determined that the house allowance was not an exclusion from petitioners' gross income.OPINION.The single issue presented for our determination is whether the house allowance here involved was excluded from gross income and exempt from tax under the provisions of section 22 (b) (6) of the Internal Revenue Code.  1*184  The position of the petitioners is that we should construe section 22 (b) (6) so that the phrase "dwelling house and appurtenances thereof furnished to a minister of the gospel" encompasses funds paid to a minister as part of his compensation for use by him in the acquisition of dwelling quarters.  Respondent, on the other hand, contends that the language of the section will not permit of such construction, and that since no dwelling house was furnished petitioner he does not come within the provisions of the section and is not entitled to the exclusion and exemption provided therein.In enacting section 22 (b) (6)Congress designated certain factual situations which must exist in order for the exclusion and exemption to arise.  One of these is that the residence and appurtenances furnished the minister must be furnished as part of his compensation.  There is no controversy between the parties herein as to whether the amount in question was paid to petitioner as a part of his compensation.  The evidence submitted shows that it was so paid and we have made a finding accordingly.  In view of the foregoing, and since the parties have not raised any constitutional question or any question*185  as to whether petitioner was employed as a minister of the gospel, we have but to determine whether the sum here sought to be excluded from gross income represents "The rental value of a dwelling house * * * furnished" to petitioner.From the facts presented we are unable to find that petitioner's dwelling house was "furnished to" him.  If it was "furnished" at all it *569  was "furnished" by him and not "furnished" to him.  Acquisition of the dwelling house was by petitioner and not by the church. Likewise, ownership and control of the property were in him and not in the church. His continued ownership and control with the right of disposition at will were in nowise contingent upon his employment as a minister or upon his employment by the church. While petitioner has shown that the rental value of the dwelling during 1949 was in excess of $ 1,000 per year, such rental value was of a dwelling belonging to him, but not furnished to him as a minister.Section 22 (b) of the Code is by its terms a statute of exemption from taxation.  Statutory provisions granting special tax exemptions are to be strictly construed. Helvering v. Northwest Steel Rolling Mills, Inc., 311 U.S. 46"&gt;311 U.S. 46.*186 Tax exemptions are not to be lightly inferred.  Heiner v. Colonial Trust Co., 275 U.S. 232"&gt;275 U.S. 232. The language of section 22 (b) (6) is clear and unambiguous.  Therefore it is axiomatic that we are not permitted to construe it but must apply it in the sense required by the natural and ordinary meaning of its terms.  Considering the facts here presented in connection with the provisions of section 22 (b) (6), as viewed in the light of the foregoing premises, we conclude that the house allowance involved herein was not excluded from the gross income of the petitioner and exempt from tax.In reaching the foregoing conclusion we have considered Jones v. United States, 60 Ct. Cl. 552"&gt;60 Ct. Cl. 552, and MacColl v. United States, (N. D., Ill.), 91 F. Supp. 721"&gt;91 F. Supp. 721, cases relied on by petitioner.  The question before the court in the Jones case was whether the rental value of the quarters furnished by the Government to an Army officer and occupied by him, and an amount paid to him as commutation of quarters, constituted compensation to him and therefore income.  No special tax-exempting provision was involved*187  or governed the court's decision.  The case, therefore, is without application here.  The question involved in the MacColl case was, as here, whether a sum paid to a minister as a "dwelling house allowance" was excluded from gross income and exempt from tax under section 22 (b) (6) of the Code.  The court there, in a summary statement and without indicating how it reached its conclusion, held for the taxpayer.  Although the facts in that case are indistinguishable in principle from those in the instant proceeding, and the same provisions of the Code govern, we are unable, for the reasons here stated, to arrive at the conclusion reached by that court.  Richard T. Gillespie, 2 B. T. A. 1317, also mentioned by the parties on brief, is not in point.  In that case two churches by which the taxpayer, a minister, was employed leased from the owner a dwelling house which they furnished for the use of the taxpayer.  As the rent became due, the churches handed the amount thereof to the taxpayer who, in turn, paid it to the owner.  The question there *570  was whether the rent handled in that manner was income to the taxpayer.  On the facts, the Board concluded*188  that the taxpayer merely acted as agent for the churches, and that the rent in question was not income to him.  As pointed out by the Board, that conclusion made it unnecessary to consider the question of whether payments to a minister in commutation of a dwelling house were within the exempting provisions of the statute.Decision will be entered for the respondent.  OPPEROpper, J., dissenting: It is not necessary that a church own the manse occupied by its pastor in order for it to be "furnished" by the church. Richard T. Gillespie, 2 B. T. A. 1317; I. T. 3243, 1939-1 C. B. 162. 1 Although section 22 (b) (6) may be read as applying to "a dwelling house * * * furnished," it may also be fairly construed as referring to "the rental value * * * furnished," which would clearly include the payment of money representing the rental value of a dwelling. It is this interpretation which comports with I. T. 3243, supra, and in any event it seems to me that to the extent that the church paid for the occupancy of this property it was "furnished" to petitioner by the church. The evidence shows that the amount claimed by him*189  was not in excess of the "fair rental value" of the premises, nor of the amount which, having been supplied to him by the church, he actually expended.There is no distinction of substance between the two common methods of providing a minister with a home.  I see no reason to assume any legislative intent to split hairs in distinguishing between the practical divergences of individual situations so that some quite similar arrangements would obtain the benefit*190  of an exclusion and others not.  Under all the circumstances, I should conclude that the statute has been literally complied with here, that its spirit has not been violated, and that the exclusion is allowable.  MacColl v. United States, (N. D., Ill.) 91 F. Supp. 721"&gt;91 F. Supp. 721. Footnotes1. SEC. 22. GROSS INCOME.(b) Exclusions From Gross Income. -- The following items shall not be included in gross income and shall be exempt from taxation under this chapter: (6) Ministers.  -- The rental value of a dwelling house and appurtenances thereof furnished to a minister of the gospel as part of his compensation;↩1. "It is stated that the church of which A is the minister owns the house which it furnishes for the use of its minister.  Since A was single and did not require a house for his residence, the church approved the leasing thereof by the minister and the renting of an apartment by him with the money received as rental from the house.* * * *It is held that the rental received by A from the house furnished to him by the church, which rental he used to pay for an apartment occupied by him, comes within the * * * [provisions of section 22 (b) (6)↩, Revenue Act of 1936]."